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                  EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                            )
STATE OF TEXAS,                             )
STATE OF MISSOURI,                          )
                                            )
       Plaintiffs,                          )
                                            )
       v.                                   )       Civil Action No. 2:21-cv-00067-Z
                                            )
 JOSEPH R. BIDEN, JR.,                      )
 in his official capacity as                )
 President of the United States, et al.,    )
                                            )
       Defendants.                          )
                                            )


                          DECLARATION OF BLAS NUÑEZ-NETO

       I, Blas Nuñez-Neto, pursuant to 28 U.S.C. § 1746 and based upon my personal

knowledge and documents and information made known or available to me from official

records and reasonably relied upon in the course of my employment, hereby declare as follows:

 1.    I am the Acting Assistant Secretary for Border and Immigration Policy as of October

       1, 2021. My permanent role is Chief Operating Officer at U.S. Customs and Border

       Protection (CBP), within the Department of Homeland Security (DHS), which I began

       on March 5, 2021. Since August 24, 2021, I have been concurrently serving as the

       Vice Chair for the Secretary of Homeland Security’s Southwest Border Taskforce. I

       also previously served at DHS as an Advisor to CBP Commissioner Gil Kerlikowske

       from January 12, 2015 to January 16, 2017.

 2.    DHS continues to make significant progress as we work to reimplement the Migrant

       Protection Protocols (MPP) in good faith.
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 3.    As I described in my previous declaration from October 14, 2021, the U.S. government

       has initiated the relevant contracts and largely finished its internal planning for the

       court-ordered re-implementation of MPP, despite its determination that MPP should be

       terminated. As a result of this work, DHS is ready to reimplement MPP shortly after

       the Government of Mexico (GOM) makes an independent decision to accept the return

       of individuals that the Department seeks to enroll in the program.

 4.    Over the past month, we have had regular and high-level meetings with the GOM to

       discuss the GOM’s concerns about the prior implementation of MPP and to work

       through possible solutions. We have made significant progress and are close to

       finalizing these discussions. Nevertheless, there is one set of outstanding issues that

       must be resolved before Mexico will be in a position to make the independent decision

       to accept into Mexico those enrolled in MPP. As described previously, the U.S.

       government cannot re-institute MPP until Mexico makes that independent decision.

 5.    We anticipate that the remaining issues will be resolved shortly and that

       reimplementation will begin within the coming weeks.

I declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information and belief. Executed on this 15th day of November, 2021.




                                        _________________________________________
                                        Blas Nuñez-Neto
                                        Acting Assistant Secretary
                                        Border and Immigration Policy
                                        Department of Homeland Security
                                        Chief Operating Officer
                                        U.S. Customs and Border Protection
